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     ABDEL BASET JAWAD
6

7

8                            UNITED STATES DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      Case No. CR-06-00365-001-LJO

12                             Plaintiff,           [Assigned to Hon. Lawrence J. O’Neill,
                                                    Courtroom 4]
13                  v.
14   ABDEL BASET JAWAD,                             ORDER GRANTING RELEASE OF
                                                    FAMILY MEMBERS’ PASSPORTS
15                             Defendant.
16

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19
           For good cause having been shown, in that Defendant Abdel Baset Jawad has duly
20
     surrendered on November 18, 2013, to the Bureau of Prisons at Atwater, California.
21
           Good cause having been shown, the passports of the following family members are
22
     ordered returned:
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     ///
24
     ///
25
     ///
26
     ///
27
     ///
28


           [PROPOSED] ORDER GRANTING RELEASE OF FAMILY MEMBERS’ PASSPORTS
        Case 1:06-cr-00365-LJO-BAM Document 339 Filed 12/06/13 Page 2 of 2


1
     Sana Sadeddin                                             USA Passport Number 447376171
     Sanaa H. R. Sarama Nehad                                  Palestinian Passport Number 2442277
2

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4    Karima Abdul Jawad                                        USA Passport Number 485657543
5
     Karima A.M. Sarama Sanaa                                  Palestinian Passport Number 2442281

6

7    Raneen Abdul Jawad                                        USA Passport Number 485663467
     Ranin A.M. Sarama Sanaa                                   Palestinian Passport Number 2442280
8

9
     Mohammed Abdul Jawad                                      USA Passport Number 485657542
10   Mohammed A.M. Sarama Sanaa                                Palestinian Passport Number 2442276
11

12   Miriam Abdul Jawad                                        USA Passport Number 44737875
13   Miriam A.M Sarama Sanaa                                   Palestinian Passport Number 2737865
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16   IT IS SO ORDERED.

17                         Dated:   December 5, 2013             /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
18   DEAC_Signature-END:




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                                                           2
                             [PROPOSED] ORDER GRANTING RELEASE OF FAMILY MEMBERS’ PASSPORTS
